Case 17-03108   Doc 1   Filed 11/09/17   Entered 11/09/17 14:31:19   Desc Main
                           Document      Page 1 of 4
Case 17-03108   Doc 1   Filed 11/09/17   Entered 11/09/17 14:31:19   Desc Main
                           Document      Page 2 of 4
        Case 17-03108         Doc 1      Filed 11/09/17        Entered 11/09/17 14:31:19           Desc Main
                                            Document           Page 3 of 4


                                  UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                      CHARLOTTE DIVISION

IN RE:                                                     )
CAAMS, LLC                                                 )        CASE NO. 15-31778
                                     Debtor.               )        CHAPTER 7
                                                           )
                                                           )
R. KEITH JOHNSON, Trustee for the bankruptcy               )
estate of CAAMS, LLC                                       )        ADV. PROC. NO. ________________
                                 Plaintiff,                )
v.                                                         )        COMPLAINT TO AVOID TRANSFER,
                                                           )            AND FOR JUDGMENT
CAAMS, LLC, Caams MRO SERVICES, INC.                       )
                                                           )
                                       Defendant.          )
                                                           )

        THE PLAINTIFF, complaining of the Defendant, alleges and says as follows:

        1.     On 11 November 2015 CAAMS, LLC (hereinafter “CAAMS” or “the Debtor”) filed a voluntary
Chapter 7 bankruptcy case in this Court.

        2.       R. Keith Johnson was duly appointed as Trustee for the bankruptcy estate of the Debtor.

       3.     This is a core proceeding to set aside a transfer of property of the Debtor, and for judgment, and the
Bankruptcy Court is authorized to enter final and dispositive orders.

        4.       Prior to filing its Chapter 13 case, the Debtor was involved in the business of buying and selling,
repairing, and refurbishing aircraft at a location in Rutherfordton, North Carolina.

         5.       In connection with the operation of its business prior to filing, the Debtor maintained an inventory of
aircraft parts that it used in its business.

     6.        On or about March, 2014, approximately eight months prior to filing, the Debtor transferred to Caams
MRO Services, Inc. (hereinafter “MRO”) its parts inventory having a value of approximately $150,000.

        7.       Upon information and belief, MRO has paid nothing for the inventory transferred to it by the Debtor.

        8.     The transfer by the Debtor to MRO of the parts inventory valued at $150,000 was without adequate
consideration.

        9.       The Debtor was insolvent at the time of the transfer of the parts inventory to MRO.

        10.      Since March, 2014, MRO has had use and possession of the parts inventory and, upon information and
        Case 17-03108          Doc 1      Filed 11/09/17       Entered 11/09/17 14:31:19            Desc Main
                                             Document          Page 4 of 4


belief, has sold and disposed of at least parts of the inventory.

         WHEREFORE, the Plaintiff prays that the Court set aside the transfer of the parts inventory to the Defendant,
and that judgment be entered in favor of the Plaintiff and against the Defendant for the sum of $150,000.00, plus interest
at the applicable federal rate from and after the date of filing of this Complaint.

        This the 9th day of November, 2017.
                                                                    /s/ R. Keith Johnson
                                                                    R. Keith Johnson, Trustee
                                                                    and attorney for Trustee
                                                                    NC State Bar No. 8840
                                                                    1275 Highway 16 South
                                                                    Stanley, NC 28164
                                                                    (704)-827-4200
